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Engineering and Developers Blog
What's happening with engineering and developers at YouTube




Making high quality video eNcient
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Tuesday, April 24, 2018



YouTube works hard to provide the best looking video at the lowest bandwidth. One way                                     Labels                  
we're doing that is by optimizing videos with bandwidth in mind. We recently made
videos stream better -- giving you higher-quality video by improving our videos so they                                Archive                   
are more likely to Gt into your available bandwidth.
                                                                                                                          Feed


When you watch a video the YouTube player measures the bandwidth on the client and
                                                                                                                        Follow @youtubedev
adaptively chooses chunks of video that can be downloaded fast enough, up to the
limits of the device’s viewport, decoding, and processing capability. YouTube makes
multiple versions of each video at different resolutions, with bigger resolutions having
higher encoding bitrates.



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                         Figure 1: HTTP-based Adaptive Video Streaming.




YouTube chooses how many bits are used to encode a particular resolution (within the
limits that the codecs provide). A higher bitrate generally leads to better video quality
for a given resolution but only up to a point. After that, a higher bitrate just makes the
chunk bigger even though it doesn’t look better. When we choose the encoding bitrate
for a resolution, we select the sweet spot on the corresponding bitrate-quality curve
(see Figure 2) at the point where adding more data rate stops making the picture look
meaningfully better.




    Figure 2: Rate-quality curves of a video chunk for a given video codec at different encoding
                                            resolutions.




We found these sweet spots, but observing how people watch videos made us realize
we could deliver great looking video even more eNciently.


These sweet spots assume that viewers are not bandwidth limited but if we set our
encoding bitrates based only on those sweet spots for best looking video, we see that
in practice video quality is often constrained by viewers’ bandwidth limitations.
However, if we consider an operating point (other than the sweet spot) given our users’
bandwidth distribution (what we call streaming bandwidth), we end up providing better
looking video (what we call delivered video quality).


A way to think about this is to imagine the bandwidth available to a user, as a pipe
shown in Figure 3. Given the pipe’s capacity Gts a 360p chunk but not a 480p chunk, we
could tweak the 480p chunk size to be more likely to Gt within that pipe by estimating
the streaming bandwidth, thereby increasing the resolution users see. We solved the
resulting constrained optimization problem to make sure there was no perceivable
impact to video quality. In short, by analyzing aggregated playback statistics, and
correspondingly altering the bitrates for various resolutions, we worked out how to

stream higher quality video to more users.1




               Figure 3: ENcient streaming scenario before and after our proposal




To understand how streaming bandwidth is different from an individual viewer’s
bandwidth, consider the example in Figure 4 below. Given the measured distribution of
viewers’ available bandwidth, the playback distribution can be estimated using the
areas between the encoding bitrates of neighboring resolutions.


Using playback statistics, we are able to model the behavior of the player as it switches
between resolutions. This allows us in effect to predict when an increased bitrate would
be more likely to cause a player to switch to a lower resolution and thereby cancel the
effect of bitrate increase in any one resolution. With this model, we are able to Gnd

better operating points for each video in the real world.1




        Figure 4: For a given resolution 720p for example, the playback distribution across
resolutions can be estimated from the probability density function of bandwidth. Partitioning
     the bandwidth using encoding bitrates of the different representations, the probability of
     watching a representation can then be estimated with the corresponding area under the
                                         bandwidth curve.




Another complication here is that the operating points provide an estimate of delivered
quality, which is different from encoded quality. If the available bandwidth of a viewer
decreases, then the viewer is more likely to switch down to a lower resolution, and
therefore land on a different operating point. This doesn’t inVuence the encoded quality
per resolution, but changes the delivered quality.




                            Fig.5 Our system for encoder optimization




In Figure 5, the Rate-quality analyzer takes the video to be encoded and generates rate-
quality curves for each resolution. The Performance Estimator takes these curves and
the distributions of viewer resolutions and streaming bandwidth to estimate possible
operation points, so the Non-linear optimizer can choose the best possible set.


The output is a set of optimized operation points, one for each resolution. The
optimization algorithm can be conGgured to minimize average streaming bandwidth
subject to a constraint of delivered video quality or to maximize delivered video quality
subject to a streaming bandwidth budget.


When we used this system to process HD videos, we delivered a reduction of 14
percent in the streaming bandwidth in YouTube playbacks. This reduction in bandwidth
is expected to help the viewers to lower their data consumption when watching
YouTube videos, which is especially helpful for those on limited data plans. We also
saw watch time for the HD resolution increase by more than 6 percent as more people
were able to stream higher-resolution videos on both Gxed and mobile networks.


Another big beneGt of this method is improved viewer experience. In addition to very
low impact on delivered quality, these videos loaded up to 5 percent faster with 12
percent fewer rebuffering events.


We have made progress towards better video streaming eNciency. But we still want to
do more.


Our optimization approach is currently based on global distribution of viewers’
bandwidth and player resolutions. But videos sometimes are viewed regionally. For
example, a popular Indian music video may be less likely to be as popular in Brazil or a
Spanish sporting event may not be played many times in Vietnam. Bandwidth and
player resolution distributions vary from country to country. If we can accurately predict
the geographic regions in which a video will become popular, then we could integrate
the local bandwidth statistics to do a better job with those videos. We're looking into
this now to try to make your video playback experience even better!


-- Balu Adsumilli, Steve Benting, Chao Chen, Anil Kokaram, and Yao-Chung Lin



Chao Chen, Yao-Chung Lin, Anil Kokaram and Steve Benting, "Encoding Bitrate
1



Optimization Using Playback Statistics for HTTP-based Adaptive Video Streaming,"
Arxiv, 2017




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